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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA,             §
                                      §
                        Plaintiff,    §
                                      §
                                      §   Criminal No. 3:09-CR-249-D(1)
VS.                                   §
                                      §
CHASTITY LYNN FAULKNER,               §
                                      §
                        Defendant.    §

                            MEMORANDUM OPINION
                                 AND ORDER

      Treating defendant Chastity Lynn Faulkner’s (“Faulkner’s”)

March 16, 2010 motion for reconsideration of pretrial detention

order1 as a motion under 18 U.S.C. § 3145(b)2 for revocation or

amendment of the magistrate judge’s detention order, and following

de novo review of a recording of the detention hearing,3 the court


      1
      Faulkner filed her motion on March 16, 2010, and the
government filed a response the next day. Under N.D. Tex. Crim. R.
47.1(f), the government’s brief should have been the last, because
Faulkner did not seek leave to file a reply brief.         Faulkner
nevertheless filed a reply on March 22, the government filed a
surreply on March 25, and Faulkner filed a so-called second reply
on March 26. Although the court has considered these additional
briefs in deciding Faulkner’s motion, it expects her to comply with
the local criminal rules during the remainder of this case.
      2
      Faulkner cites 18 U.S.C. § 3142 as the basis for her motion,
but that section applies to the initial consideration of release or
detention of a defendant pending trial.
      3
      “When the district court, pursuant to 18 U.S.C. § 3145(b),
acts on a motion to revoke or amend a magistrate’s pretrial
detention order, the court acts de novo and makes an independent
determination of the proper pretrial detention conditions for
release.” United States v. Fortna, 769 F.2d 243, 249 (5th Cir.
1985).   Reviewing a recording of the detention hearing is an
appropriate procedure to comply with that obligation. See, e.g.,
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denies the motion.

                                        I

      Faulkner is charged in two counts of a second superseding

indictment, returned on March 24, 2010.4                In count one, she is

charged with conspiracy to commit wire and mail fraud, in violation

of 18 U.S.C. § 1349.      In count two, she is charged with fraud and

related activity in connection with electronic mail, in violation

of 18 U.S.C. § 1037(a)(2).5           Her trial is scheduled for October

2010. Following her arrest, she appeared before a magistrate judge

on February 1, 2010 for a detention hearing.                 The government’s

witness——an FBI special agent who investigated this case——testified

that Faulkner was arrested in January 2010 after being removed from

Mexico.     Faulkner had lived there under an assumed name until

Mexican authorities determined that her travel visa had expired.

The magistrate judge ordered Faulkner detained, finding that she

presents a flight risk.      Faulkner contends that the government has

failed to demonstrate by a preponderance of the evidence that no

bond conditions will ensure her appearance at trial.




United States v. Farguson, 721 F. Supp. 128, 129 n.1 (N.D. Tex.
1989) (Fitzwater, J.).
      4
       There is also a forfeiture count against her.
      5
      She is charged under the penalty provision of 18 U.S.C.
§ 1037(b)(2)(C). She is also charged as an aider and abetter under
18 U.S.C. § 2.

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                                        II

                                         A

      “If, after a hearing . . ., the judicial officer finds that no

condition or combination of conditions will reasonably assure the

appearance of the person as required . . ., such judicial officer

shall order the detention of the person before trial.”                        18 U.S.C.

§ 3142(e)(1).      The court applies a preponderance of the evidence

standard    in    determining   that    no     condition     or   combination        of

conditions will reasonably assure the defendant’s presence at

trial.     See United States v. Fortna, 769 F.2d 243, 250 (5th Cir.

1985).

                                         B

      The government’s witness testified that Faulkner left her

Keller, Texas home in July or August 2009, when she took her three

children to join her husband and alleged coconspirator, Michael

Blaine Faulkner (“Michael”), in Mexico.6              While there, she and her

husband    lived    under    assumed    identities,      using     Nevada       driver

licenses    and    license    plates.          When   confronted         by     Mexican

authorities for overstaying her tourist visa, she initially denied

her true identity.       According to the agent, although some of the



      6
      The court has not assumed in deciding this motion that
Faulkner entered Mexico illegally.       Regardless whether the
magistrate judge acted on the belief that Faulkner’s entry into
Mexico was illegal, this court’s review is de novo, and it can
order Faulkner detained based on its own review of the record,
without considering whether her entry was legal or illegal.

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Faulkners’ domestic bank accounts were seized, they had other

accounts in foreign countries.            Michael allegedly continued to

operate    his   criminal   enterprise        while     in    Mexico,      defrauding

companies by an additional $1 million.                The agent was unable to

determine where that money was located.

      Faulkner contends that her relocation to Mexico was intended

to unite her family, not to avoid prosecution. She points out that

she remained in her Keller home until after the completion of her

children’s school year, although her husband had departed for

Mexico in April 2009.       And she states that she had not yet been

indicted when she left for Mexico and that she left her Keller home

only because it was being foreclosed on for nonpayment of the

mortgage.    The court is not persuaded by these arguments.

      Faulkner’s flight to Mexico occurred after search warrants

were executed in March and April 2009 at the Faulkners’ home and at

business locations associated with Michael.                      Faulkner did not

voluntarily return to the United States after she was indicted in

September 2009.7       Instead, she enrolled her children in Mexican

schools under alias names.            When she left Keller, she did not

arrange for the orderly sale of the family’s assets.                         Personal

possessions and food were left in their home, and the couple ceased



      7
      The agent testified that Michael made Internet postings under
a fictitious name indicating that he was aware of the Indictment.
It is therefore reasonable to infer that Faulkner was aware that
she had been indicted.

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making house payments, allowing the bank to foreclose.                   Faulkner

and Michael took their leased cars to Mexico and stopped making the

lease payments.        Although Faulkner was not prohibited from leaving

Keller, she was told that doing so without alerting government

investigators would be perceived as flight. She could then, as she

asks to do now, have moved in with her parents in East Texas.                   Her

departure to Mexico and her conduct while there provide at least a

preponderance of, if not compelling, evidence of flight to avoid

anticipated prosecution.

      Faulkner also contends that the government has offered little

evidence of her guilt. She asserts that she was mainly a homemaker

and that she was not involved in her husband’s conduct.                The agent

testified, however, that emails indicate she was involved in the

operation of at least some of the shell companies used in the

alleged fraudulent conduct, including sending letters demanding

payment from customers who were in arrears. She was also listed as

an officer in at least one of the companies involved in the alleged

fraud. The government has at least produced credible evidence that

Faulkner knowingly joined in the conspiracy alleged in count one.

      Faulkner also contends that she has strong family ties to the

area and that, if released, she would reside with her parents in

East Texas.    But these family ties existed when she fled to Mexico

to   avoid   prosecution.       Faulkner       also   maintains   that    she   is

financially unable to flee, but the FBI agent testified that the $1


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million that the conspiracy generated while the Faulkners were in

Mexico remains unaccounted for.              Faulkner also asserts that her

parents are willing to offer cash or their home as part of a surety

bond.    But there is compelling evidence that this, alone or in

combination     with   other   factors,       would     not   reasonably   assure

Faulkner’s presence at trial.         Specifically, Faulkner was willing

to abandon her home and possessions to flee to Mexico, live under

an assumed name, and remain there for a considerable period

(inhibited only because Mexican authorities stepped in).                       The

government has proved by a preponderance of the evidence that her

presence at trial could not be any more reasonably assured if her

parents assisted in obtaining a surety bond.

      Based on the circumstances surrounding her departure from

Keller and her conduct once in Mexico, the court finds that

Faulkner has demonstrated both an ability and a desire to flee from

prosecution.      The court finds, based on a preponderance of the

evidence, that no condition or combination of conditions will

reasonably assure her presence at trial.

                                       III

      Accordingly, the court denies Faulkner’s March 16, 2010 motion

for reconsideration of pretrial detention order.                The court orders

that Faulkner be held without bond pending the trial of this action

as follows.      She is committed to the custody of the Attorney

General for confinement in a corrections facility separate, to the


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extent practicable, from persons awaiting or serving sentences or

being held in custody pending appeal.                    She is to be afforded

reasonable opportunity for private consultation with her counsel.

By order of this court, to be issued in the future, the person in

charge of the corrections facility in which Faulkner is to be

confined is to deliver her to a United States Marshal for the

purpose of appearing in connection with any court proceeding.

                                 *      *       *

      Faulkner’s       March   16,   2010   motion   for    reconsideration      of

pretrial detention order is denied.

      SO ORDERED.

      April 1, 2010.



                                       _________________________________
                                       SIDNEY A. FITZWATER
                                       CHIEF JUDGE




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